                                                                                  FORM 1
                                                                                                                                                            Page No:   1
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                               ASSET CASES

 Case No.:                         23-46912                                                                       Trustee Name:                          Mark H. Shapiro
 Case Name:                        EXIGENT LANDSCAPING, LLC                                                       Date Filed (f) or Converted (c):       02/12/2024 (c)
 For the Period Ending:            03/31/2025                                                                     §341(a) Meeting Date:                  04/01/2024
                                                                                                                  Claims Bar Date:                       05/20/2024
                               1                                    2                      3                                4                        5                     6
                    Asset Description                          Petition/              Estimated Net Value               Property              Sales/Funds            Asset Fully
                     (Scheduled and                          Unscheduled             (Value Determined by               Abandoned            Received by the        Administered
                Unscheduled (u) Property)                       Value                       Trustee,              OA =§ 554(a) abandon.          Estate                 (FA)/
                                                                                    Less Liens, Exemptions,                                                         Gross Value of
                                                                                       and Other Costs)                                                            Remaining Assets

 Ref. #
1         Huntington Bank DIP                          (u)              $4,859.02                   $4,859.02                                         $4,859.02                 FA
2      23 Mile Storage, LLC security                                    $6,000.00                        $0.00                                             $0.00                FA
       deposit
Asset Notes:    Will be applied to rent
3         Accounts receivable                                      $185,000.00                      $5,000.00                                         $5,000.00                 FA
4       Raw material (gravel, sand,                           $4,000.00                                  $0.00                                             $0.00                FA
        pavers)
5       Misc. office furniture, incl                          $1,000.00                                  $0.00                                            $13.50                FA
        conference table, 4 desks, 12
        chairs
6       Office equipment, incl computer                       $3,000.00                                  $0.00                                           $168.30                FA
        equipment and communication
        systems equipment and software
        Misc. office equipment including
        2 laptop and 1 TV (not working)
 Asset Notes:     Amendment filed 3/18/2024 [docket no. 184] changing description
7         2020 Hino 268A Dump Truck                                 $75,000.00                           $0.00                                             $0.00                FA
Asset Notes:           Secured creditor picked up
8       (2) 20" Trailer, 18" Trailer, 16"                       $13,000.00                          $0.00                                            $15,088.75                 FA
        Trailer, 8" Trailer
 Asset Notes:      Order Deeming Cargo Trailers as Property of the Bankruptcy Estate entered 8/19/2024 [docket no. 229]
                   Motion for Order Deeming Cargo Trailers as Property of the Bankruptcy Estate filed 7/30/2024 [docket no. 227]
                   Amendment filed 3/18/2024 [docket no. 184] changing 10" to 8" and increasing value from $11,000 to $13,000
9       GMC 4500Truck                                           $39,000.00                          $0.00                                                  $0.00                FA
10        3 Trailers                                                    $3,000.00                        $0.00                                             $0.00                FA
Asset Notes:           Amendment filed 3/18/2024 [docket no. 184] removing asset but believe there are still assets
11        2 Vacuum Paver Lifters                                        $1,500.00                        $0.00                                             $0.00                FA
12        2020 Chevrolet Silverado                     (u)                 $0.00                    $3,055.41                                         $3,055.41                 FA
Asset Notes:    Surplus after sale of vehicle from GM Financial
                Secured creditor picked up
13      2021 Chevrolet Silverado                             $54,000.00                                  $0.00                                             $0.00                FA
        Medium
 Asset Notes:   Secured creditor picked up
14        2019 Chevrolet Silverado                                  $32,000.00                           $0.00                                             $0.00                FA
15        2019 Sierra Limited                                       $33,000.00                           $0.00                                             $0.00                FA
16        2018 GMC Van                                              $35,000.00                           $0.00                                             $0.00                FA
Asset Notes:           Secured creditor picked up
17     Caterpillar 301.7-05CR Hydraulic                             $30,000.00                           $0.00                                             $0.00                FA
       Excavator
Asset Notes:     Secured creditor picked up
18     Caterpillar 303.5E2CR Hydraulic                              $25,000.00                           $0.00                                             $0.00                FA
       Excavator
Asset Notes:     Secured creditor picked up
19     Caterpillar 308E2CRSB                                        $45,000.00                           $0.00                                       $35,126.00                 FA
       Hydraulic Excavator
Asset Notes:     Auctioning
20     Caterpillar 299D3 Compact Track                             $100,000.00                           $0.00                                             $0.00                FA
       Loader
Asset Notes:     Secured creditor picked up
                      23-46912-tjt                  Doc 242          Filed 04/21/25              Entered 04/21/25 20:48:27                     Page 1 of 9
                                                                                                          SUBTOTALS                  $0.00                    $0.00
                                                                            FORM 1
                                                                                                                                                    Page No:   2
                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                         ASSET CASES

 Case No.:                       23-46912                                                                 Trustee Name:                          Mark H. Shapiro
 Case Name:                      EXIGENT LANDSCAPING, LLC                                                 Date Filed (f) or Converted (c):       02/12/2024 (c)
 For the Period Ending:          03/31/2025                                                               §341(a) Meeting Date:                  04/01/2024
                                                                                                          Claims Bar Date:                       05/20/2024
                            1                                 2                    3                                4                        5                     6
                   Asset Description                     Petition/              Estimated Net Value            Property               Sales/Funds            Asset Fully
                    (Scheduled and                     Unscheduled             (Value Determined by            Abandoned             Received by the        Administered
               Unscheduled (u) Property)                  Value                       Trustee,           OA =§ 554(a) abandon.           Estate                 (FA)/
                                                                              Less Liens, Exemptions,                                                       Gross Value of
                                                                                 and Other Costs)                                                          Remaining Assets

21       279D3 Compact Track Loader                           $80,000.00                         $0.00                                             $0.00                FA
Asset Notes:       Secured creditor picked up
22       279D3 Compact Track Loader                           $80,000.00                         $0.00                                             $0.00                FA
Asset Notes:       Secured creditor picked up
23     279D3 Compact Track                                    $80,000.00                         $0.00                                             $0.00                FA
       LoaderSecured creditor picked up
Asset Notes:   Secured creditor picked up
24     2019 Caterpillar 259 Compact                           $45,000.00                         $0.00                                             $0.00                FA
       Track Loader
Asset Notes:    Secured creditor picked up
25     Caterpillar 252B3 Compact Track                        $15,000.00                         $0.00                                             $0.00                FA
       Loader
Asset Notes:     Secured creditor picked up
26       Topsoil Screener                                         $6,000.00                      $0.00                                        $6,128.00                 FA
27       1 Toro Dingo                                         $20,000.00                         $0.00                                       $15,975.00                 FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] changing from 2 Toro Dingos to 1 and reducing value from $30,000 to $20,000
28       Large Tamper                                             $5,000.00                      $0.00                                             $0.00                FA
29       5 Small Tampers                                          $5,000.00                      $0.00                                             $0.00                FA
30     2 cement saws, 2 chainsaw                            $2,500.00                            $0.00                                        $2,708.60                 FA
       cement, hand saw
Asset Notes:    Amendment filed 3/18/2024 [docket no. 184] changing description
31       Rebar cutter and tier                                    $4,000.00                      $0.00                                           $306.00                FA
32       2 Compressors                                             $500.00                       $0.00                                           $244.25                FA
33       Misc. pool equipment and                                 $2,000.00                      $0.00                                           $127.50                FA
         supplies
34       Misc. hand tools                                         $4,000.00                      $0.00                                        $1,611.75                 FA
35       Mud Buggy                                            $15,000.00                         $0.00                                       $12,425.00                 FA
36       Cause of action against Natalie                          Unknown                        $0.00                                             $0.00                FA
         Powers, Geoff Wilson, and Eli
         Zahka (contract)
37       Possible insurance claim for                             Unknown                        $0.00                                             $0.00                FA
         stolen equipment
38       2016 Ford F250                          (u)              $7,000.00                  $7,500.00                                        $7,500.00                 FA
 Asset Notes:    Amendment filed 3/18/2024 [docket no. 184] listing scheduled value of $7,000
                 Order Authorzing Debtor to Sell 2016 Ford F 250 entered 1/22/2024 [docket no. 139]
39      3 Monitors                              (u)           $1,500.00                          $0.00                                            $51.00                FA
Asset Notes:      Amendment filed 3/18/2024 [docket no. 184] adding asset
40      1 TV, 1 large refrigerator, 1          (u)            $2,000.00                          $0.00                                           $300.05                FA
        hibachi grille, 4 propane tanks, 2
        tables
 Asset Notes:     Amendment filed 3/18/2024 [docket no. 184] adding asset
41      1 canon image tm-300 printer           (u)            $1,500.00                          $0.00                                           $875.00                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
42       2006 Ford Ranger                       (u)            $1,500.00                         $0.00                                             $0.00                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
43       2012 GMC 2500                          (u)            $5,000.00                         $0.00                                        $4,401.00                 FA
Asset Notes:    Amendment filed 3/18/2024 [docket no. 184] adding asset
44       2016 GMC 3500                       (u)           $30,000.00                            $0.00                                             $0.00                FA
Asset Notes:       Amendment filed 3/18/2024 Doc
                      23-46912-tjt           [docket 242
                                                     no. 184] adding
                                                               Filedasset
                                                                       04/21/25          Entered 04/21/25 20:48:27                     Page 2 of 9
                                                                                                  SUBTOTALS                  $0.00                    $0.00
                                                                            FORM 1
                                                                                                                                                   Page No:   3
                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                         ASSET CASES

 Case No.:                       23-46912                                                                Trustee Name:                          Mark H. Shapiro
 Case Name:                      EXIGENT LANDSCAPING, LLC                                                Date Filed (f) or Converted (c):       02/12/2024 (c)
 For the Period Ending:          03/31/2025                                                              §341(a) Meeting Date:                  04/01/2024
                                                                                                         Claims Bar Date:                       05/20/2024
                             1                                2                    3                               4                        5                     6
                   Asset Description                     Petition/              Estimated Net Value            Property              Sales/Funds            Asset Fully
                    (Scheduled and                     Unscheduled             (Value Determined by            Abandoned            Received by the        Administered
               Unscheduled (u) Property)                  Value                       Trustee,           OA =§ 554(a) abandon.          Estate                 (FA)/
                                                                              Less Liens, Exemptions,                                                      Gross Value of
                                                                                 and Other Costs)                                                         Remaining Assets

45       Rigid Tile Cutter                       (u)               $500.00                       $0.00                                            $0.00                FA
 Asset Notes:    Amendment filed 3/18/2024 [docket no. 184] adding asset
46      2 Power Washers                       (u)            $1,250.00                           $0.00                                          $366.00                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
47       3 Wheel barrows                        (u)            $1,000.00                         $0.00                                            $0.00                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
48       2 electric cement mixers               (u)            $1,000.00                         $0.00                                          $165.00                FA
Asset Notes:      Amendment filed 3/18/2024 [docket no. 184] adding asset
49      (2) gas and (1) electrical water       (u)            $1,500.00                          $0.00                                            $0.00                FA
        pump
 Asset Notes:     Amendment filed 3/18/2024 [docket no. 184] adding asset
50      1 Auger Skid Steer Attachment          (u)            $1,000.00                          $0.00                                       $2,725.00                 FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
51       2 Toro Snowblowers                     (u)            $1,000.00                         $0.00                                           $55.25                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
52       1 Stihl chainsaw                       (u)              $250.00                         $0.00                                          $433.50                FA
Asset Notes:     Amendment filed 3/18/2024 [docket no. 184] adding asset
53       Redmax shrub timers                  (u)              $300.00                           $0.00                                            $0.00                FA
 Asset Notes:     Amendment filed 3/18/2024 [docket no. 184] adding asset
54      Shop tools and tool boxes and          (u)            $2,500.00                          $0.00                                          $176.80                FA
        supplies
 Asset Notes:     Amendment filed 3/18/2024 [docket no. 184] adding asset
55      Hydraulic oil and motor oil 10         (u)              $500.00                          $0.00                                            $0.00                FA
        gallon
 Asset Notes:     Amendment filed 3/18/2024 [docket no. 184] adding asset
56      1 150 btu Hayford heater               (u)            $1,400.00                          $0.00                                           $97.75                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
57       (2) Commercial Pumps 7.0 hp            (u)            $6,500.00                         $0.00                                            $0.00                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
58       45 empty Pallets                       (u)            $1,200.00                         $0.00                                            $0.00                FA
Asset Notes:       Amendment filed 3/18/2024 [docket no. 184] adding asset
59       Refund of bond from Charter            (u)              $300.00                       $300.00                                          $300.00                FA
         Township of Harrison
60       Fifth Third Bank x5426                                    $0.00                         $0.00                                            $0.00                FA
61       Fifth Third Bank x4139                                      $0.00                       $0.00                                            $0.00                FA
62       First State Bank x6613                               $10,244.34                         $0.00                                            $0.00                FA
63       Fifth Third Bank x2630                                      $0.00                       $0.00                                            $0.00                FA
64       First State Bank #7428                               $70,000.00                         $0.00                                            $0.00                FA
65       First State Bank #6580                                   $2,900.00                      $0.00                                            $0.00                FA
66       2017 GMC Sierra Truck 3500 and                       $70,000.00                         $0.00                                            $0.00                FA
         2015 Chevrolet Silverado 2500
         Truck
67       Building bond refund from 14363         (u)               $100.00                     $100.00                                          $100.00                FA
         Knightsbridge
68       Refund of pool bond permit              (u)              $2,000.00                  $2,000.00                                       $2,000.00                 FA
69       Equipment found at facility                          $50,000.00                    $50,000.00                                      $30,952.75                 FA
70       Preference - SCP Distributors           (u)         $215,123.87                  $215,123.87                                             $0.00       $215,123.87
Asset Notes:       Adversary filed 12/30/2024 [docket
                      23-46912-tjt             Doc no.  236] = Filed
                                                      242      adversary04/21/25
                                                                         proceeding 24-04445-tjt
                                                                                         Entered 04/21/25 20:48:27                    Page 3 of 9
                                                                                                  SUBTOTALS                 $0.00                    $0.00
                                                                            FORM 1
                                                                                                                                                       Page No:    4
                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                         ASSET CASES

Case No.:                    23-46912                                                                        Trustee Name:                          Mark H. Shapiro
Case Name:                   EXIGENT LANDSCAPING, LLC                                                        Date Filed (f) or Converted (c):       02/12/2024 (c)
For the Period Ending:       03/31/2025                                                                      §341(a) Meeting Date:                  04/01/2024
                                                                                                             Claims Bar Date:                       05/20/2024
                         1                                    2                      3                                 4                        5                      6
                  Asset Description                      Petition/               Estimated Net Value              Property                Sales/Funds            Asset Fully
                   (Scheduled and                      Unscheduled              (Value Determined by              Abandoned              Received by the        Administered
              Unscheduled (u) Property)                   Value                        Trustee,             OA =§ 554(a) abandon.            Estate                 (FA)/
                                                                               Less Liens, Exemptions,                                                          Gross Value of
                                                                                  and Other Costs)                                                             Remaining Assets

                 Demand letter sent


TOTALS (Excluding unknown value)                                                                                                             Gross Value of Remaining Assets
                                                          $1,542,427.23                     $287,938.30                                     $153,336.18            $215,123.87



Major Activities affecting case closing:
 02/24/2025     Adversary Proceeding Scheduling Order entered
                Joint Final Pretrial Order prepared in accordance and submitted to the Judge no later than five days before the Final Pretrial Conference
                Mediation not later than July 28, 2025
 02/10/2025     26f Report filed
 01/30/2025     Notice of Initial Scheduling Conference in an Adversary Proceeding scheduled for 02/24/2025 at 9 am [docket no. 8]
 12/30/2024     Adversary filed 12/30/2024 [docket no. 236] = adversary proceeding 24-04445-tjt
 11/06/2024     Preference demand letter sent
 08/19/2024     Order Deeming Cargo Trailers as Property of the Bankruptcy Estate entered [docket no. 229]
 07/30/2024     Motion for Order Deeming Cargo Trailers as Property of the Bankruptcy Estate filed 7/30/2024 [docket no. 227]
 04/24/2024     Order Authorizing Trustee to Auction Asset Free and Clear of Liens, Claims, and Interests With All Liens, Claims, and Interests Attaching To
                The Proceeds of Sale entered 4/24/2024 [docket no. 210]
 03/26/2024     Order Authorizing Surcharge entered [docket no. 200]
 03/22/2024     Order Approving Trustee's Employment of Auctioneer entered [docket no. 195]
 02/29/2024     Liquidation of assets


Initial Projected Date Of Final Report (TFR):             01/31/2026                                 /s/ MARK H. SHAPIRO
Current Projected Date Of Final Report (TFR):             01/31/2026                                 MARK H. SHAPIRO




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                                                                                                                                             Page No: 1
                                                                             FORM 2
                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     23-46912                                                                Trustee Name:                    Mark H. Shapiro
Case Name:                   EXIGENT LANDSCAPING, LLC                                                Bank Name:                       Pinnacle Bank
Primary Taxpayer ID #:       **-***5176                                                              Checking Acct #:                 ******0125
Co-Debtor Taxpayer ID #:                                                                             Account Title:                   Checking Account
For Period Beginning:        04/01/2024                                                              Blanket bond (per case limit):   $2,000,000.00
For Period Ending:           03/31/2025                                                              Separate bond (if applicable):


     1                 2                3                                    4                                          5              6                  7

Transaction      Check /            Paid to/              Description of Transaction                 Uniform          Deposit     Disbursement        Balance
   Date           Ref. #         Received From                                                      Tran Code           $              $


02/29/2024           (1)    The Huntington National      Turnover of funds in account as of         1129-000          $3,359.02            $0.00              $3,359.02
                            Bonk                         the date requested.
03/07/2024           (1)    HUNTINGTON                   Zelle payment made to the                  1129-000          $1,500.00            $0.00              $4,859.02
                            NATIONAL BANK                Huntington account after the closing
                                                         process started
03/07/2024           (38)   RONALD F. HEITMANN           Payment towards the 2016 Ford              1129-000          $1,000.00            $0.00              $5,859.02
                            ANNE HEITMANN                F250 per court order entered
                                                         1/22/2024 [docket no. 139]
03/08/2024           (3)    J & J Landscaping LLC        Payment from J & J Landscaping             1121-000          $2,500.00            $0.00              $8,359.02
03/11/2024           (38)   Roberto Saladrigas           Balance of proceeds of the 2016            1129-000          $6,500.00            $0.00          $14,859.02
                                                         Ford F250 per court order entered
                                                         1/22/2024 [docket no. 139]
                                                         (Bank recorded as $65 and a credit
                                                         was issued $6,435.00)
03/15/2024           (3)    J & J LANDSCAPING            Balance of payment from J & J              1121-000          $2,500.00            $0.00          $17,359.02
                            LLC                          Landscaping
03/21/2024           (59)   CHARTER TOWNSHIP             Bond refund from Charter Township          1229-000            $300.00            $0.00          $17,659.02
                            OF HARRISON                  of Harrison
03/25/2024           (12)   General Motors Financial     Surplus after secured creditor,            1229-000          $3,055.41            $0.00          $20,714.43
                            Company Inc                  General Motors Financial Company
                                                         Inc. sold repossessed vehicle




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                                                                                                SUBTOTALS         $20,714.43                 $0.00
                                                                                                                                           Page No: 2
                                                                           FORM 2
                                                CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     23-46912                                                            Trustee Name:                      Mark H. Shapiro
Case Name:                   EXIGENT LANDSCAPING, LLC                                            Bank Name:                         Pinnacle Bank
Primary Taxpayer ID #:       **-***5176                                                          Checking Acct #:                   ******0125
Co-Debtor Taxpayer ID #:                                                                         Account Title:                     Checking Account
For Period Beginning:        04/01/2024                                                          Blanket bond (per case limit):     $2,000,000.00
For Period Ending:           03/31/2025                                                          Separate bond (if applicable):


     1                 2              3                                    4                                          5              6                  7

Transaction      Check /           Paid to/         Description of Transaction                   Uniform           Deposit      Disbursement        Balance
   Date           Ref. #        Received From                                                   Tran Code            $               $


05/28/2024                  REPOCAST.COM INC        Auction proceeds                               *              $103,440.08            $0.00          $124,154.51
                     {5}                            Proceeds of office                $13.50    1129-000                                                $124,154.51
                                                    furniture
                                                    Auctioneer Fees              ($13,672.92)   3610-000                                                $124,154.51
                                                    Auctioneer expenses           ($6,545.00)   3992-000                                                $124,154.51
                     {6}                            Proceeds of office              $168.30     1129-000                                                $124,154.51
                                                    equipment, etc.
                     {8}                            Proceeds of trailers           $8,225.00    1129-000                                                $124,154.51
                     {19}                           Proceeds of Caterpillar      $35,126.00     1129-000                                                $124,154.51
                                                    equipment
                     {26}                           Proceeds of topsoil            $6,128.00    1129-000                                                $124,154.51
                                                    screener
                     {27}                           Proceeds of dingo            $15,975.00     1129-000                                                $124,154.51
                     {30}                           Proceeds of cement             $2,708.60    1129-000                                                $124,154.51
                                                    saws, chainsaw cement,
                                                    and hand saw
                     {31}                           Proceeds of Rebar               $306.00     1129-000                                                $124,154.51
                                                    cutter and tier
                     {32}                           Proceeds from                   $244.25     1129-000                                                $124,154.51
                                                    compressors
                     {33}                           Proceeds of misc. pool          $127.50     1129-000                                                $124,154.51
                                                    equipment and supplies
                     {34}                           Proceeds of misc. hand         $1,611.75    1129-000                                                $124,154.51
                                                    tools
                     {35}                           Proceeds of Mud              $12,425.00     1129-000                                                $124,154.51
                                                    Buggy
                     {39}                           Proceeds of monitors              $51.00    1229-000                                                $124,154.51
                     {40}                           Proceeds of 1 TV, 1             $300.05     1229-000                                                $124,154.51
                                                    large refrigerator, 1
                                                    hibachi grille, 4
                                                    propane tanks, 2 tables
                     {41}                           Proceeds of 1 canon             $875.00     1229-000                                                $124,154.51
                                                    image tm-300 printer
                     {43}                           Proceeds of 2012 GMC           $4,401.00    1229-000                                                $124,154.51
                                                    2500
                     {46}                           Proceeds of power               $366.00     1229-000                                                $124,154.51
                                                    washers
                     {48}                           Proceeds of electric            $165.00     1229-000                                                $124,154.51
                                                    cement mixers
                     {50}                           Proceeds of 1 Auger            $2,725.00    1229-000                                                $124,154.51
                                                    Skid Steer Attachment
                     {51}                           Proceeds of 2 Toro                $55.25    1229-000                                                $124,154.51
                                                    Snowblowers
                     {52}                           Proceeds of Stihl               $433.50     1229-000                                                $124,154.51
                                                    chainsaw
                       23-46912-tjt       Doc 242     Filed 04/21/25             Entered 04/21/25 20:48:27                      Page 6 of 9
                                                                                          SUBTOTALS         $103,440.08                    $0.00
                                                                                                                                                  Page No: 3
                                                                               FORM 2
                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     23-46912                                                                  Trustee Name:                      Mark H. Shapiro
Case Name:                   EXIGENT LANDSCAPING, LLC                                                  Bank Name:                         Pinnacle Bank
Primary Taxpayer ID #:       **-***5176                                                                Checking Acct #:                   ******0125
Co-Debtor Taxpayer ID #:                                                                               Account Title:                     Checking Account
For Period Beginning:        04/01/2024                                                                Blanket bond (per case limit):     $2,000,000.00
For Period Ending:           03/31/2025                                                                Separate bond (if applicable):


     1                 2                3                                      4                                          5                6                   7

Transaction      Check /            Paid to/               Description of Transaction                  Uniform          Deposit       Disbursement        Balance
   Date           Ref. #         Received From                                                        Tran Code           $                $


                     {54}                                 Proceeds of shop tools           $176.80    1229-000                                                 $124,154.51
                                                          and tools boxes and
                                                          supplies
                     {56}                                 Proceeds of 1 150 btu             $97.75    1229-000                                                 $124,154.51
                                                          Hayford heater
                     {69}                                 Misc equipment                $30,952.75    1229-000                                                 $124,154.51
05/30/2024        6001      Caterpillar Financial         Payment on Secured Claim per court          4110-000                $0.00      $20,000.00            $104,154.51
                            Services Corporation          order entered 5/23/2024 [docket no.
                                                          5/23/2024]
07/08/2024           (67)   Charter Township of           Building bond refund from Charter           1229-000            $100.00               $0.00          $104,254.51
                            Shelby                        Township of Shelby of 14363
                                                          Knightsbridge
07/31/2024                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $149.92            $104,104.59
08/09/2024           (68)   Macomb Township               Refund of pool permit from                  1229-000          $1,000.00               $0.00          $105,104.59
                                                          Macomb Township
08/30/2024                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $150.83            $104,953.76
09/30/2024                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $131.19            $104,822.57
10/07/2024           (68)   Macomb Township               Refund of permit fee                        1229-000          $1,000.00               $0.00          $105,822.57
10/28/2024           (8)    REPOCAST.COM INC              Sale proceeds of trailer                    1129-000          $6,863.75               $0.00          $112,686.32
10/31/2024                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $133.14            $112,553.18
11/29/2024                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $140.69            $112,412.49
12/31/2024                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $140.51            $112,271.98
01/02/2025        6002      Steinberg Shapiro & Clark     First Interim Application of Attorney       3110-000                $0.00      $14,000.00             $98,271.98
                                                          for Trustee fees per court order
                                                          entered 1/2/2025 [docket no. 241]
01/02/2025        6003      Steinberg Shapiro & Clark     First Interim Application of Attorney       3120-000                $0.00         $861.68             $97,410.30
                                                          for Trustee expenses per court order
                                                          entered 1/2/2025 [docket no. 241]
01/02/2025        6004      Insurance Partners            Bond premium                                2300-000                $0.00            $59.07           $97,351.23
01/31/2025                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $122.82             $97,228.41
02/28/2025                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $121.53             $97,106.88
03/31/2025                  Pinnacle Bank                 Service Charge                              2600-000                $0.00         $121.38             $96,985.50




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                                                                                                  SUBTOTALS          $8,963.75              $36,132.76
                                                                                                                                                      Page No: 4
                                                                             FORM 2
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       23-46912                                                                   Trustee Name:                         Mark H. Shapiro
Case Name:                     EXIGENT LANDSCAPING, LLC                                                   Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:         **-***5176                                                                 Checking Acct #:                      ******0125
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                        Checking Account
For Period Beginning:          04/01/2024                                                                 Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             03/31/2025                                                                 Separate bond (if applicable):


     1                2                  3                                      4                                              5                6                  7

Transaction        Check /             Paid to/           Description of Transaction                   Uniform              Deposit        Disbursement         Balance
   Date             Ref. #          Received From                                                     Tran Code               $                 $



                                                TOTALS:                                                                    $133,118.26        $36,132.76               $96,985.50
                                                    Less: Bank transfers/CDs                                                     $0.00             $0.00
                                                Subtotal                                                                   $133,118.26        $36,132.76
                                                    Less: Payments to debtors                                                    $0.00             $0.00
                                                Net                                                                        $133,118.26        $36,132.76




For the period of 04/01/2024 to 03/31/2025                             For the entire history of the account between 02/26/2024 to 3/31/2025

Total Compensable Receipts:                          $132,621.75      Total Compensable Receipts:                                     $153,336.18
Total Non-Compensable Receipts:                            $0.00      Total Non-Compensable Receipts:                                       $0.00
Total Comp/Non Comp Receipts:                        $132,621.75      Total Comp/Non Comp Receipts:                                   $153,336.18
Total Internal/Transfer Receipts:                          $0.00      Total Internal/Transfer Receipts:                                     $0.00


Total Compensable Disbursements:                      $56,350.68      Total Compensable Disbursements:                                 $56,350.68
Total Non-Compensable Disbursements:                       $0.00      Total Non-Compensable Disbursements                                   $0.00
Total Comp/Non Comp Disbursements:                    $56,350.68      Total Comp/Non Comp Disbursements                                $56,350.68
Total Internal/Transfer Disbursements:                     $0.00      Total Internal/Transfer Disbursements:                                $0.00




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                                                                                                                                                    Page No: 5
                                                                            FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       23-46912                                                                  Trustee Name:                        Mark H. Shapiro
Case Name:                     EXIGENT LANDSCAPING, LLC                                                  Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:         **-***5176                                                                Checking Acct #:                     ******0125
Co-Debtor Taxpayer ID #:                                                                                 Account Title:                       Checking Account
For Period Beginning:          04/01/2024                                                                Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             03/31/2025                                                                Separate bond (if applicable):


     1                2                  3                                  4                                               5                 6                  7

Transaction        Check /             Paid to/          Description of Transaction                  Uniform              Deposit        Disbursement         Balance
   Date             Ref. #          Received From                                                   Tran Code               $                 $



                                                                                                                              NET                NET              ACCOUNT
                                                      TOTAL - ALL ACCOUNTS                                                DEPOSITS          DISBURSE             BALANCES

                                                                                                                      $133,118.26          $36,132.76                $96,985.50




For the period of 04/01/2024 to 03/31/2025                           For the entire history of the account between 02/26/2024 to 3/31/2025

Total Compensable Receipts:                         $132,621.75      Total Compensable Receipts:                                    $153,336.18
Total Non-Compensable Receipts:                           $0.00      Total Non-Compensable Receipts:                                      $0.00
Total Comp/Non Comp Receipts:                       $132,621.75      Total Comp/Non Comp Receipts:                                  $153,336.18
Total Internal/Transfer Receipts:                         $0.00      Total Internal/Transfer Receipts:                                    $0.00


Total Compensable Disbursements:                     $56,350.68      Total Compensable Disbursements:                                $56,350.68
Total Non-Compensable Disbursements:                      $0.00      Total Non-Compensable Disbursements:                                 $0.00
Total Comp/Non Comp Disbursements:                   $56,350.68      Total Comp/Non Comp Disbursements:                              $56,350.68
Total Internal/Transfer Disbursements:                    $0.00      Total Internal/Transfer Disbursements:                               $0.00




                                                                                                /s/ MARK H. SHAPIRO
                                                                                                MARK H. SHAPIRO




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